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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

DEMETRIUS ROSS, et al., on behalf of          )
themselves and all others similarly situated, )
                                              )
      Plaintiffs,                             )
                                              )          Case No. 15-cv-0309-SMY
      v.                                      )
                                              )
GREG GOSSETT, et al.,                         )
                                              )
      Defendants.                             )

                              FINAL PRETRIAL ORDER

YANDLE, District Judge:

  I.   COUNSEL OF RECORD

       Attorney(s) for Plaintiff(s):

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       vanessa@kaplangrady.com, terah@kaplangrady.com;

               Lyla Wasz-Piper and Lewis Kaminski, Loevy & Loevy, 311 N. Aberdeen St., 3rd
       Fl., Chicago, IL 60607, (312) 243-5900, wasz-piper@loevy.com, kaminski@loevy.com;
       and

              Nicole Shult and Shireen Jalali-Yazdi, Uptown People’s Law Center, 4413 N.
       Sheridan Ave., Chicago, IL 60640, (773) 769-1411, nicole@uplcchicago.org,
       shireen@uplcchicago.org.

       Attorney(s) for Defendant(s):

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 II.    NATURE OF THE CASE

        This case is brought on behalf of a class of individuals incarcerated in one of four prisons
        within the Illinois Department of Corrections in 2014. The class alleges that 20 supervisory
        prison officials, who are defendants in this case, planned and executed prison-wide
        shakedowns in 2014 that were designed to humiliate and cause the class members pain, in
        violation of their Eighth Amendment rights. The class also alleges that the defendants
        conspired to violate the class’s Eighth Amendment rights and failed to intervene in the
        violation of their rights. The defendants deny the prison-wide shakedowns at issue were
        designed to humiliate or cause pain to the incarcerated population. Defendants maintain
        the shakedowns at issue were designed and intended to promote staff and prisoner safety
        by removing contraband from circulation at the subject facilities.

III.    SUBJECT MATTER JURISDICTION

        This is an action for liability and damages pursuant to 42 U.S.C. § 1983.

        The basis for the Court’s subject matter jurisdiction is 28 U.S.C. § 1331.

        The existence of subject matter jurisdiction is not contested.

IV.     STIPULATED FACTS

        The parties do not have any stipulated facts.

 V.     ISSUES

        1.   Issues of law for the Court to decide:

             a. Whether the parties’ respective motions in limine to bar (or expressly permit)
                certain types of evidence at trial should be granted. See Dkt. 694; Dkt. 696.

             b. If the jury returns a verdict for the class on the question of liability, what quantum
                of costs and attorneys’ fees should be awarded to Plaintiffs’ counsel.

             c. If the jury returns a verdict for the class and Plaintiffs, whether prejudgment
                interest should be assessed and in what amount, and what amount of post-judgment
                interest should be awarded.

             d. Whether the supervisory Defendants’ plan for the 2014 facility-wide shakedowns
                violated Plaintiffs’ Eighth Amendment rights. 1

             e. Whether there was a valid penological purpose for the 2014 facility-wide

        1
           The parties recognize that some of the issues of law listed in this section will overlap with the
issues of fact, which the jury will decide.


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                 shakedowns and whether the 2014 facility-wide shakedowns were conducted in a
                 manner designed to further that penological purpose or whether, instead, they were
                 conducted in a manner designed to humiliate and abuse class members.

             f. Whether the supervisory Defendants failed to intervene to prevent the violation of
                Plaintiffs’ Eighth Amendment rights. 2

             g. Whether two or more Defendants participated in a conspiracy to deprive Plaintiffs
                of their constitutional rights.

             h. Whether Plaintiffs suffered damages.

             i. Whether Plaintiffs are entitled to compensatory damages other than nominal
                damages.

             j. Whether Plaintiffs are precluded from recovering mental/emotional injuries by 42
                U.S.C. § 1997e(e), whether and how the statute applies in this case, and whether
                in any event, Defendants waived or forfeited invocation of 42 U.S.C. § 1997e(e)
                by failing to raise it to this point.

             k. Whether Plaintiffs are entitled to punitive damages.

             l. Whether Defendants are entitled to qualified immunity.

        2. Issues for the Jury to decide:

             a. Whether Defendants designed and implemented a uniform policy and practice to
                conduct shakedowns at the four facilities that were abusive and humiliating, rather
                than in furtherance of a proper penological purpose.

             b. Whether Defendants conspired to violate the Eighth Amendment rights of the class
                members.

             c. Whether Defendants failed to intervene to prevent the violation of the class’s
                Eighth Amendment rights. 3

             d. What quantum of compensatory damages should be awarded to testifying class
                members.

             e. Depending on the Court’s resolution of the legal issues regarding the application
                of 42 U.S.C. § 1997e(e) in this case, there may or may not be additional questions

        2
           Defendants have filed a motion in limine seeking to bar Plaintiffs from offering certain legal
theories in support of the class’s failure-to-intervene claim. See Dkt. 734 at 1-6. Plaintiffs have responded
in opposition to that motion. See Dkt. 740 at 2-5. The parties do not repeat that disagreement here but agree
that neither side has forfeited their position on the matter by agreeing to these statements regarding the
relevant issues of law and fact.
         3
           See Footnote 2 above.

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               of fact for the jury to determine, including whether Plaintiffs suffered a physical
               injury.

           f. Whether punitive damages should be imposed against Defendants in favor of
              testifying class members and if so, what quantum of punitive damages should be
              imposed.

VI.    WITNESSES

       NOTE: Identification of witnesses in this Final Pretrial Order does not relieve the
       parties of their obligation to timely file pretrial disclosures required by Federal Rule
       of Civil Procedure 26(a)(3). The parties should simply list below the witnesses that
       have been disclosed pursuant to Rule 26(a)(3) whom they intend to call at trial. Every
       party to the action should include a list of witnesses in the form set forth below. Any
       witness not properly disclosed will not be allowed to testify.

       Plaintiff intends to call the following witnesses:

              Expert witnesses: Dan Pacholke and Pat Hurley.

              Non-expert witnesses: Plaintiffs are attaching their Rule 26(a)(3) disclosures,
              which identify 27 witnesses that they intend to call with additional witnesses
              identified that Plaintiffs have indicated they may call, as Exhibit A to this Final
              Pretrial Order.

       Defendant intends to call the following witnesses:

              Expert witnesses: Larry Reid.

              Non-expert witnesses: Defendants are attaching their Rule 26(a)(3) disclosures,
       which identify 32 witnesses that they intend to call with additional witnesses identified that
       Defendants have indicated they may call, as Exhibit B to this Final Pretrial Order.

VII.   EXHIBITS

       The parties filed their Rule 26(a)(3) disclosures on March 1, 2025. See Dkt. 743 (Defs.’
       Disc.); Dkt. 744 (Pls.’ Disc.). The parties have not yet filed their objections, which are due
       March 14, 2025. The parties anticipate objecting to some of the exhibits identified by the
       other side.

       NOTE: The parties shall identify the exhibits they intend to use at trial in the disclosures
       timely made pursuant to Federal Rule of Civil Procedure 26(a)(3). When possible,
       objections filed pursuant to Rule 26(a)(3) will be resolved at the Final Pretrial Conference.
       The parties shall bring their Rule 26(a)(3) disclosures and any objections to the Final
       Pretrial Conference.



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        In addition to the provisions of Rule 26, the parties shall jointly prepare an Exhibit List
        stating the number and brief description of each exhibit they expect to present at trial. The
        Exhibit List must be submitted by email to Judge Yandle’s proposed document in-box at:
        SMYpd@ilsd.uscourts.gov at least 2 business days before the first day of trial using Judge
        Yandle’s approved form. A copy of that blank form can be found by accessing Judge
        Yandle’s Case Management Procedures. The parties may also request the template by
        contacting Judge Yandle’s Courtroom Deputy, Stacie Hurst, at (618) 439-7744 or by email
        at Stacie_Hurst@ilsd.uscourts.gov. Detailed instructions for completing the Exhibit List
        are explained in Judge Yandle’s Case Management Procedures available on the Court’s
        website, www.ilsd.uscourts.gov.

VIII.   DAMAGES

        As noted below, the Court has certified a Rule 23(b)(3) class for determination of the 20
        supervisory Defendants’ liability. The parties agree that if a jury finds for the class on the
        question of liability for testifying class members, but acknowledge that determination of
        the quantum of damages for other class members will require separate, additional jury
        trials.

        As for the testifying plaintiffs’ damages, they seek compensatory damages for the pain and
        humiliation they suffered as a result of the shakedowns, including physical injuries, as well
        as mental and emotional injuries. They also seek compensatory damages for the
        deprivations they suffered during the periods of time that their prison was locked down for
        the purpose of conducting the shakedowns, which they contend were conducted in a
        manner intended to inflict pain and humiliation (and not for any legitimate penological
        purpose). Finally, they seek compensatory damages for the property that was
        inappropriately destroyed as a result of the shakedowns. The testifying plaintiffs further
        seek punitive damages against each of the 20 supervisory defendants.

        Defendants deny liability and further deny that any damages should be awarded.
        Defendants also contend that if Plaintiffs fail to show a physical injury, they cannot recover
        compensatory damages for mental and emotional injuries pursuant to 42 U.S.C. § 1997e(e).

 IX.    BIFURCATED TRIAL

        The class in this case was certified as a Rule 23(b)(3) class for determination of liability
        only. Accordingly, the parties agree that if the jury finds for the class on the question of
        liability, it should simultaneously determine the quantum of compensatory damages and
        punitive damages (if the jury decides that an award of punitive damages is appropriate) for
        testifying class members, but acknowledge that determination of the quantum of damages
        for other class members will require separate, additional jury trials.

  X.    TRIAL BRIEFS

        The parties have not yet filed any trial briefs but will do so promptly if a dispute requiring
        such briefs arises.

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       NOTE: Judge Yandle does not require trial briefs. In certain cases, Judge Yandle may
       direct the parties to file trial briefs on a particular legal issue. Moreover, if there are
       complex evidentiary or other issues which trial briefs would help clarify, the parties should
       file trial briefs no later than 14 calendar days prior to the first day of trial. Trial briefs
       should not be used to rehash issues previously rejected by the Court via ruling on a
       dispositive motion.

XI.    MOTIONS IN LIMINE

       The parties filed their respective motions in limine on February 13, 2025, and responded
       to the other side’s motions in limine on February 27, 2025. See Dkt. 734; Dkt. 735; Dkt.
       739; Dkt. 740. The Court ruled on the parties’ motions in limine during the March 6, 2025
       final pretrial conference and a written Order will be entered.

       NOTE: Unless the Court, by written Order or Notice in a particular case, has set a
       different deadline, all motions in limine must be filed no later than 21 calendar days
       before the Final Pretrial Conference. Responses to motions in limine must be filed no
       later than 14 days after the date the motion is filed. Judge Yandle will hear argument
       on motions in limine at the Final Pretrial Conference, or she may schedule a separate
       hearing on motions in limine. Given the nature of motions in limine, failure to file motions
       by the deadline generally will not prejudice a party’s ability to move in limine before the
       jury is impaneled. Later-filed motions, however, may be stricken if their consideration
       would delay the start of trial.

XII.   JURY INSTRUCTIONS

       The parties anticipate that they will submit joint instructions for the majority of the jury
       instructions that the parties will propose. They further anticipate that they may have
       disputes regarding the issue instructions to be given in this case, as well as certain
       additional instructions, but will work collaboratively to narrow any areas of disagreement.

       NOTE: Jury instructions should be provided in Microsoft Word format by email to
       SMYpd@ilsd.uscourts.gov no later than 2 business days prior to the first day of trial. Each
       instruction should be marked to designate the party offering the instruction (e.g.,
       “Plaintiff’s Instruction No. 1” or “Parties Agreed Instruction No. 1”) and the source of the
       instruction (e.g., “Seventh Circuit Pattern Instruction No. 1.01”). Plaintiff is primarily
       responsible for the burden of proof instructions, the damage instructions, the verdict
       instructions, and the verdict forms. Defendant is primarily responsible for the cautionary
       instructions. The parties should work together in an effort to produce one set of proposed
       instructions. If the parties are unable to agree on certain instructions, each party may
       submit a version of the contested instructions. The Court will compile a packet of proposed
       final instructions and give the instructions to the parties during trial before a formal jury
       instruction conference is held.




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XIII. LIMITATIONS, RESERVATIONS AND OTHER MATTERS

     A.    Trial Date. Trial is set for March 31, 2025.

     B.    Length of Trial. The probable length of trial is 12 days. The case will be listed on
           the trial calendar to be tried when reached.

                  Mark Appropriate Box: JURY. . . . X           NON-JURY. . . . Ƒ

     C.    Number of Jurors. There shall be a minimum of 6 jurors.




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       IT IS ORDERED that the Final Pretrial Order may be modified at the trial of the action,

or prior thereto, to prevent manifest injustice or for good cause shown. Such modification may be

made either on motion of counsel or sua sponte by the Court.


       DATED: March 7, 2025



                                            _____________________________________
                                            STACI M. YANDLE, DISTRICT JUDGE
                                            UNITED STATES DISTRICT COURT

                                            APPROVED AS TO FORM AND SUBSTANCE:


                                            ___/s/ Sarah Grady______________________
                                            ATTORNEY FOR PLAINTIFF(S)


                                            ___/s/ Joseph Rupcich______________________
                                            ATTORNEY FOR DEFENDANT(S)


NOTE:        Where a third-party defendant is joined pursuant to Rule 14(a) of the
             Federal Rules of Civil Procedure, this Order may be suitably modified.

This order should be submitted as a proposed order directly                       to   chambers
(mailto:SMYpd@ilsd.uscourts.gov) with counsel’s s/ signatures provided.

       IT IS SO ORDERED.




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